Case 1:18-cv-00056-.]RH-BKE Document 1 Filed 03/26/18 Page 1 of 16

ll`ORM 'I`O BE USED BY PR]SO'NERS IN F

ILING A C()MPLAINT
UNDER 'I`IIE CIVIL RICIITS ACT, 42 .\U.S.C. § 1983
in the UNI'I`ED STATES DISTRICT COURT for the SOUT

name mmch orcEORCrA

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_ _ _ _ wena.T/V!`mn§lhoml&nlar
(Enler above full name of plaintiff or plainuffs) ETO A L;]

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(Enter above full name of defendant or dcfcndanf_';) -. - .' 59 EE{;Z:*_'|
.: 531 §_";:afr;
I. l’revious lawsuits "/ ` 295
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A. Have you begun other lawsuits in state or federal court dealing m San`?c facts:n
_ _ _ _ - m ,_
involved m this action? Yes NoC-'J
If` your answer to A is yes, describe each lawsuit in the space below. (lf there is more
than one lawsuiL describe the additional lawsuits on another piece ofpaper, using the
same outline.)
1. Parties to this previous lawsuit
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Defendanrs`: l_ ` ‘ ' I"'"i 'l 11 (} Vl£ l HV`lOm
2.

 

Court (if federal court, name the district; if state Court, name the county):

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5. Disposition
(_l`or examplc, was the case dismissed? appealed? is it still pcnding?):

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6. Approximate date of filing lawsuit: w

7. Approximate date of disposition: l\l "A~

 

8. Were you'allowed to proceedv in forma pauperis (without prcpaym t of
l`ees)? Yes No g

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B. While incarcerated or detained in any facility, have you brought any l suits in
federal court which deal with facts other than those involved in this a
Yes
lf` your answer to B is yes, describe each lawsuit in the space below. (lf there is more
than one lawsuit, describe the additional lawsuits on another piece of papcr, using the
same outline.) ' ' ‘

1. Parties to previous lawsuit

manning mmpi l,UQ-TF-\/lDF/`
Defendants: m I`AN l Q[‘M€[)

2- Court (name the district):

 

 

 

 

  
     

3- Docket number: 11 lrQ"` V"Dq%"?""(!A’P l
4_ Name ofjed'g‘¢ assigh'ed'id eas¢;" @_l/t£l _Vl€£\ paci/Wl€.l' l IR¢

Disposition
(for example, was the case dismissed? appealed? is it still pending?):

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6. Approximate date of filing lawsuit A'PRIl ` Ql l 90 {D

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7. ./\pproximate date of disposition:
X. Were you allowed to proceed in forma pauperis (without
fccs)? Yes No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C. As to any lawsuit filed in federal court where you were allowed to proce iri/erma
pauperis, was any suit dismissed on the ground that it was frivolous, alicious or
t`ailed to state a claim? Yes No
l_ l f your answer to C is yes,name the court and docket number for each case:

Ml\/L@Q
Gl" V~
lI. Place of present confinement MMLQ`W/l] ID/lA[ /W#j// é)‘

A. ls there a prisoner grievance procedure in this institution? Yes No

B. Did you present the facts relating to your»complaint to the approp ate grievance

` committce? Yes No

C. b lf`your answer to B is yes:

  

n l. What step
- 611 l

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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3. Did you appeal any adverse decision to the highest level\){ib|e in the
administrative procedure? Yes N<J _

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D. lf you did not utilize the pn`lo guidance procedure, explain why not:
-_./

 

 

 

 

 

 

 

 

l V. Parties

(ln Item A below, list your name as plaintiff and current address. Provide the nam¢
and address of any additional plaintiffs on an attached sheet.)

' A. Namc of plaintiff
Address:

 

 

 

(ln Itern B below, list the defendant’s Full name, position, place of employment1 and

current address. Provide the same information for any additional defendants in [t¢m
C be"!ow.) '

 
 
 
 
   

  
  
 

B. Name of defendant
Position: _
Place of employment

Currcnt address: ___§ '

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V. Statemcnt of Claim

 

 

 

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I declare under penalty of perjury thWH//fj,) fore oing is true and correct.

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(Signature ofPlaintiff)

- Signedt.his_l _ day of

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DECLARATION UNDER PENALTY OF PERJURY

 

_YOU MUS'I` DECLARE UNDER'PENALTY OF PERJURY THAT THE ANSWERS YOU HAVE
GIVEN IN THE A'l`TACHED MOTION/AFFIDAVIT FORM ARE 'I'RUE AND CORRECT. G!VING A
FALSE ANSWER OR FALSE TNFORMATION IN RESPONSE TO ANY QUESTION WILL SUBJECT
YOU TO FEDERAL PERJURY CHARGES. 18 U.S.C.§ 1621 PROVIDES AS FOLLOWS:

 

Whoever -

(2) in any declaration, certi]‘icate, verification or statement under
penalty of perjury as permitted under section 1 746 of title 28,
United States Code, will/idly subscribes as true any material
matter which he does not believe to be true.'

is guilty of perjury and shall, except as otherwise expressly provided by law. befin ”0¢ more than
$2,000 or imprisoned not more than five years or both. Ihis section is applicable whether the
statement or subscription is made within or without the United States.

F.Jndersta_nding th_e above, l declare under penalty of perjury that the foregoing answers and
information provided by me m support of my request to proceed in forma pauperis are true and
correct.

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Exeouted this day of

 

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